                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS—HARVARD FACULTY
CHAPTER, and AMERICAN ASSOCIATION                   Case No. 25-10910
OF UNIVERSITY PROFESSORS,

                     Plaintiffs,

             v.

UNITED STATES DEPARTMENT OF
JUSTICE, et al.

                     Defendants.



DECLARATION OF DANIEL SILVERMAN IN SUPPORT OF PLAINTIFFS’ MOTION
             FOR A TEMPORARY RESTRAINING ORDER

    I, Daniel H. Silverman, declare as follows:

         1. I am a Partner at the law firm Cohen Milstein Sellers & Toll PLLC, and am duly

 licensed to practice in the State of Massachusetts (BBO# 704387).

         2. I am counsel for Plaintiffs American Association of University Professors

 (“AAUP”) and American Association of University Professors–Harvard Faculty Chapter

 (“AAUP–Harvard”) in the above-captioned litigation.

         3. I submit this declaration in support of Plaintiffs’ Motion for a Temporary

 Restraining Order, filed herewith.

         4. Attached hereto as Exhibit 1 is a true and correct copy of a webpage from the 2025

 presidential campaign website for Donald Trump, titled “Agenda47: Protecting Students from

 the Radical Left and Marxist Maniacs Infecting Educational Institutions” and dated July 17,

 2023.


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        5. Attached hereto as Exhibit 2 is a true and correct copy of Executive Order 14188,

titled “Additional Measures to Combat Anti-Semitism” and signed January 29, 2025.

        6. Attached hereto as Exhibit 3 is a true and correct copy of a press release by the

Department of Justice’s Office of Public Affairs, titled “Justice Department Announces

Formation of Task Force to Combat Anti-Semitism” and dated February 3, 2025.

        7. Attached hereto as Exhibit 4 is a true and correct copy of a press release by the

Department of Education, titled “U.S. Department of Education's Office for Civil Rights Sends

Letters to 60 Universities Under Investigation for Antisemitic Discrimination and Harassment”

and dated March 10, 2025.

        8. Attached hereto as Exhibit 5 is a true and correct copy of a press release by the

Department of Education, titled “ED, HHS, and GSA Initiate Federal Contract and Grant

Review of Harvard University” and dated March 31, 2025.

        9. Attached hereto as Exhibit 6 is a true and correct copy of a letter from Alan M.

Graber to the Members of the Harvard Community, titled “Our Resolve” and published March

31, 2025.

        10. Attached hereto as Exhibit 7 is a true and correct copy of a letter from Josh

Gruenbaum, Sean R. Keveney, and Thomas E. Wheeler to Alan M. Garber and dated April 3,

2025.

        11. Attached hereto as Exhibit 8 is a true and correct copy of Harvard University’s

financial overview for fiscal year 2024 and dated October 2024.

        12. Attached hereto as Exhibit 9 is a true and correct copy of an article in the Harvard

Crimson by Avani Rai and Saketh Sundar, titled “Harvard’s Federal Funding is Under Fire.

Here’s What’s at Risk” and dated January 31, 2025.



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        13. Attached hereto as Exhibit 10 is a true and correct copy of a news article from the

Harvard University Library website, titled “Pfister and Bradshaw receive NSF grant” and dated

July 10, 2023.

        14. Attached hereto as Exhibit 11 is a true and correct copy of an article by the Harvard

University Graduate School of Design, titled “Holly Samuelson Awarded Started Grant

Funding from the National Science Foundation” and dated March 22, 2024.

        15. Attached hereto as Exhibit 12 is a true and correct copy of an article published on

the FAS Research Computing page of Harvard University’s website, titled “Research

Computing Part of $5.3M NSF award for Advanced Cyberinfrastructure” and dated 2014.

        16. Attached hereto as Exhibit 13 is a true and correct copy of an article published by

the U.S. National Science Foundation, titled “Award Abstract No. 2421461 for Trailblazer:

Biodegradable Living Materials” and dated 2024.

        17. Attached hereto as Exhibit 14 is a true and correct copy of an article in The Boston

Globe by Mike Damiano and Liz Kowalczyk, titled “Trump administration did not say which

research projects were targeted in Harvard review. A government memo has answers” and

dated April 4, 2025.

        18. Attached hereto as Exhibit 15 is a true and correct copy of an article in the Harvard

Crimson by Saketh Sundar, titled “Trump Admin’s $9 Billion Review of Harvard’s Grants

Could Hit Boston’s Hospitals Hardest” and dated April 4, 2025.

        19. Attached hereto as Exhibit 16 is a true and correct copy of an article in the Harvard

Gazette, titled “With federal funds, Harvard helps drive local economy” and dated March 1,

2020.




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       20. Attached hereto as Exhibit 17 is a true and correct copy of the declaration of Kirsten

Weld, executed on April 11, 2025.

       21. Attached hereto as Exhibit 18 is a true and correct copy of the declaration of Todd

Wolfson, executed on April 11, 2025.

       22. Attached hereto as Exhibit 19 is a true and correct copy of a press release by the

U.S. General Services Administration, titled “DOJ, HHS, ED, and GSA announce initial

cancellation of grants and contracts to Columbia University worth $400 million” and dated

March 7, 2025.

       23. Attached hereto as Exhibit 20 is a true and correct copy of an article in The New

York Times by Michael C. Bender and Sheryl Gay Stolberg, titled “Trump Administration

Freezes $1 Billion for Cornell and $790 Million for Northwestern, Officials Say,” and dated

April 8, 2025.

       24. Attached hereto as Exhibit 21 is a true and correct copy of a letter from Josh

Gruenbaum, Sean R. Keveney, and Thomas E. Wheeler to Dr. Katrina Armstrong, David

Greenwald, and Claire Shipman dated March 13, 2025.

       25. Attached hereto as Exhibit 22 is a true and correct copy of a post on Truth Social

by Donald Trump dated March 4, 2025.

       26. Attached hereto as Exhibit 23 is a true and correct copy of a transcript published on

Hugh Hewitt and Duane Patterson’s website, titled “Leo Terrell, Senior Counsel to the Attorney

General for Civil Rights, on Crushing Anti-Semitism on Campus” and dated March 19, 2025.

       27. Attached hereto as Exhibit 24 is a true and correct copy of a webpage from the 2025

presidential campaign website for Donald Trump, titled “Agenda47: The American Academy”

and dated November 1, 2023.



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           28. Attached hereto as Exhibit 25 is a true and correct copy of a press release by the

   Department of Justice, Office of Public Affairs, titled “Federal Task Force to Combat

   Antisemitism Announces Visits to 10 College Campuses that Experienced Incidents of

   Antisemitism” and dated February 28, 2025.

           29. Attached hereto as Exhibit 26 is a true and correct copy of the declaration of

   Caroline Light, executed April 11, 2025.

           30. Exhibit 27 is filed under seal pursuant to the contemporaneously filed Motion to

   Seal.

           31. Attached hereto as Exhibit 28 is a true and correct copy of the declaration of

   Meredith Rosenthal, executed April 11, 2025.

           32. Exhibit 29 is filed under seal pursuant to the contemporaneously filed Motion to

   Seal.

       I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information, and belief.

Executed on this 11th day of April, 2025, in Boston, Massachusetts.

                                              _/s/_Daniel h. Silverman__
                                              Daniel H. Silverman (BBO# 704387)
                                              COHEN MILSTEIN SELLERS & TOLL PLLC
                                              769 Centre Street
                                              Suite 207
                                              Boston, MA 02130
                                              (617) 858-1990




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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent by

certified mail on April 14, 2025 to the United States attorney for Massachusetts, the civil-process

clerk at the United States attorney’s office, and to the Attorney General of the United States at

Washington, D.C, pursuant to Federal Rule of Civil Procedure 4(i).

                                                              /s/ Daniel Silverman
                                                              Daniel Silverman
